Case 0:09-cv-61175-WJZ Document 21 Entered on FLSD Docket 04/01/2013 Page 1 of 3


                                                                                *         i.'.k:
                        UN ITED STATES D ISTRICT COU RT                         =

                        SOUTHERN DISTR ICT OF FLORIDA                           ::=
                                                                                >
                                                                                           41
                                                                                           ..,
                       Case N o.:09-61l7s-civ-zlochc osenbaum                   =
                                                                                 œ
    TIM O TH Y W .BEN TON ,                                                      >

                                                                                     *@
          Plaintiftl
                                                                                    œ


    TAK HA R COLLECTION SERVICES LTD .,

          Defendant.

    and

    BAN K OF A M ER ICA ,N .A .

          Garnishee,


      PLA INTJFF'S M OTION TO C LERK FO R W R IT O F GA R NISH M ENT
                           AFTER JUDGM ENT

          Plaintif: Timothy W .Benton,filesthisM otion to theClerk forW ritof
    Garnishm entafterJudgm entand in supportthereofstates as follow s;

                 On M ay 24,2010,the Courtentered Judgm entagainstTakhar

    Collection Services,LTD and in favorofPlaintifllTimothy W .Benton,for
    dam ages,asfollow :

          PlaintiffTim othy W .B enton does have and recover from D efendantTakhar
          Collection ServicesLtd.thesum of$4,500.00 togetherwith interestthereon
          ata rate of0.38% perannum ,foral1ofw hich 1etexecution issue

                 O n June 30,2010,the Courtentered Judgm entagainstTakhar

    Collection Services,LTD and in favorofPlaintiftlTimothy W .Benton for
    A ttorney'sFeesand Costs as follow s;
Case 0:09-cv-61175-WJZ Document 21 Entered on FLSD Docket 04/01/2013 Page 2 of 3



           PlaintiffTim othy W .Benton doeshave and recovery from
          DefendantTakharCollection Services,Ltd.the sum of$2,000.00 as
          attorney'sfeesand costsincurred in the successfulprosecution of
          thisaction,foral1ofw hich letexecution issue.

           3.    Therestillremainsunpaid ontheJudgmentthesum of$6,500.00
    exclusive ofinterestthereon and PlaintiffdoesnotbelievethatD efendanthasin

    itspossession visible property on w hich a levy can be m ade sufficientto satisfy

    thejudgment.
                 Plaintiff,Tim othy W .Benton,requeststhata W ritofG arnishm ent

    be issued againstto the follow ing G arnishee:

                                    Bank ofA m erica,N .A .
                                  3600 N orth FederalH ighw ay
                                   FortLauderdale,FL 33308


    D ated this 29 day ofM arch,2013.


                                             Respectfully subm itted;

                                             DONALD A.YARBROUGH,ESQ.
                                             PostOffice Box 11842
                                             FortLauderdale,FL 33339
                                             Telephone:954-537-2000
                                             Facsim il .     5-2235

                                       By:
                                             D             .YARBROUGH,ESQ.
                                             Flor a arN o.0158658
Case 0:09-cv-61175-WJZ Document 21 Entered on FLSD Docket 04/01/2013 Page 3 of 3



                         UN ITED STATES D ISTRICT COU RT
                         SOUTHERN DISTRICT OF FLORID A
                        CaseN o.:09-61l7s-civ-zloch/lkosenbaum

    TIM O THY W .BEN TON ,

          Plaintiff,


    TAKH AR COLLECTION SERV ICES LTD .,

          D efendant.

    and

    BANK O F AM ERICA ,N .A .

          Garnishee,
                                        /

                            CERTIFICA TE OF SERVICE

           IH EREBY CERTIFY thaton M arch 29,2013,1m anually filed the
                                                     -


    foregoing docum entw ith the Clerk ofCourt.Ialso certify thatthe foregoing
    docum entisbeing served thisday on allcounselofrecord orpro separties
    identiied on theattached ServiceListin the m annerspecitied,eithervia
    transm ission ofN otices ofElectronicFiling generated by CM /ECF orin som e
    otherauthorized m annerforthose counselorpartieswho are notauthorized to
    receive electronically N otices ofElectronic Filing.

                                                                    /


                                                  Donal    .Yarbrough,Esq.

                                   SERVICE LIST

    TA K HA R CO LLECTION SERV ICES LTD .
    c/o CT Com oration System
    Suite 814
    208 South Lasalle Street
    Chicago,IL 60604

    Via U S M ail
